     Case 1:23-cv-00275-MW-MJF     Document 36       Filed 12/22/23   Page 1 of 35




                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF FLORIDA
                            GAINESVILLE DIVISION


STUDENTS FOR JUSTICE IN PALESTINE
AT THE UNIVERSITY OF FLORIDA,

       Plaintiff,
                                              Case No. 1:23-cv-00275-MW/MJF
v.

RAYMOND RODRIGUES, et al.,

     Defendants.
_____________________________________/


             THE BOARD OF GOVERNORS AND CHANCELLOR
                RODRIGUES’ RESPONSE IN OPPOSITION TO
           PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       Defendants, the Chancellor of the State University System of Florida and

members of the Florida Board of Governors,1 respectfully respond to Plaintiff’s Mo-

tion for Preliminary Injunction (ECF Nos. 3, 3-1).




       1
         Unless separately discussed, references to the Board or Board of Governors
include the Chancellor, who serves as the Chief Executive Officer of the Board of
Governors. Also, as noted in Governor DeSantis’ Motion to Dismiss, the Governor
joins in this Response because the arguments applicable to the Board and Chancellor
apply to the Governor as well.
   Case 1:23-cv-00275-MW-MJF        Document 36   Filed 12/22/23   Page 2 of 35




                                  INTRODUCTION

      The events that led us here cannot be overstated. On October 7, 2023, Ha-

mas—a U.S.-designated foreign terrorist organization—committed unfathomable

acts of savagery against innocent men, women, children, and babies in Israel.2 Some

of the victims were American citizens.3 Coined “Operation Al-Aqsa Flood,” Hamas

carried out these acts on a Jewish holiday.4

      “[M]ore than 1,500 members of Hamas’ death squads purged Israeli vil-

lages—killing over 1,400 people, injuring thousands of others, taking at least 200

hostages, and leaving behind a trail of unspeakable horror.” Comm. on Foreign Af-

fairs Memo at 2. The carnage perpetrated by Hamas included:

           Murdering civilians in their cars, including women, children,
            and entire families;

           Assaulting kibbutzim, killing residents and burning homes;

           Holding captive and massacring families in their homes;

           Forcing hostages to lure other civilians out of their homes;

      2
        Letter from Rep. McCaul to Dep’t of State Sec’y Blinken & Amb. Van
Schaack, at 1 (Oct. 19, 2023), available at https://mccaul.house.gov/sites/evo-sub-
sites/mccaul.house.gov/files/evo-media-document/2023-10-19-letter-to-sec.-
blinken-amb.-van-schaack-regarding-hamas-genocide-crimes-against-humanity-
war-crimes.pdf (“Comm. on Foreign Affairs Memo”).
      3
        Ex. 39, available at https://www.nytimes.com/2023/10/11/us/israel-ameri-
cans-missing-killed-hostage.html.
      4
        Israel and Hama October 2023 Conflict: Frequently Asked Questions
(FAQs), Congressional Research Service (CRS Report 47754), at 1, Oct. 20, 2023,
V.10 Updated, available at https://crsreports.congress.gov/product/pdf/R/R47754.

                                          2
   Case 1:23-cv-00275-MW-MJF         Document 36      Filed 12/22/23   Page 3 of 35




             Executing babies and children in their beds and carseats;

             Murdering the elderly and posting the evidence on the social
              media;

             Slaughtering more than 250 civilians attending a music festival
              at point-blank range;

             Capturing and raping women;

             Kidnapping children;

             Parading and spitting on the dead in the streets;

             Mutilating the bodies of victims; and

             Burning men, women, and children alive.

Comm. on Foreign Affairs Memo, at 2–3. This mass atrocity has been described as

the “deadliest attack against the Jewish people in a single day ‘since the Holo-

caust.’”5

      In the wake of these horrific attacks, antisemitic incidents in the United States

have climbed sharply—by as much as 388%. See United States v. Burke, No. 19 CR

322, 2023 WL 7110745, at *5 (N.D. Ill. Oct. 28, 2023); see also Oversight of the

Federal Bureau of Investigation: Before S. Comm. on the Judiciary, 118th Cong.

(2023) (testimony of FBI Director Christopher Wray), available at https://www.ju-




      5
         Ex. 40, available at https://www.timesofisrael.com/why-a-holocaust-
scholar-thinks-comparisons-with-the-oct-7-hamas-massacre-are-valid/.

                                           3
   Case 1:23-cv-00275-MW-MJF        Document 36     Filed 12/22/23   Page 4 of 35




diciary.senate.gov/committee-activity/hearings/12/05/2023/oversight-of-the-fed-

eral-bureau-of-investigation, at 1:13:30 (noting a “388% rise in the anti-Semitic in-

cidents since this time last year”). In the words of FBI Director Christopher Wray:

“it is a real problem.” Id. at 2:43:33 (“We’ve seen bomb threats to synagogues,

threats to attack the Jewish community on campuses and other places. We’ve had

multiple arrests.”). Because the Jewish community shoulders a disproportionate

share of hate crimes, the FBI is “acutely focused on the threats to the Jewish com-

munity, which very much needs our help.” Id. at 2:44:20. This alarming trend is felt

in Florida, which is home to the third largest Jewish population in the nation.6

      College and university campuses are not immune from this striking rise in

antisemitism, which has drawn national attention from the press and Congress. E.g.,

Condemning Antisemitism on Univ. Campuses and the Testimony of Univ. Presi-

dents in the House Comm. on Educ. and the Workforce, H.R. 927, 118th Cong.

(2023), available at https://www.congress.gov/bill/118th-congress/house-resolu-

tion/927/actions; Ex. 32.7




      6
         Brandeis Steinhardt Social Research Institute, American Jewish Population
Estimates 2020 Summary and Highlights, at 8 (Mar. 2021), available at
https://ajpp.brandeis.edu/documents/2020/JewishPopulationDataBrief2020.pdf.
      7
        Also available at available at https://www.washingtonpost.com/educa-
tion/2023/10/31/antisemitism-college-campuses-jewish-hamas-gaza/.

                                          4
    Case 1:23-cv-00275-MW-MJF         Document 36      Filed 12/22/23   Page 5 of 35




      The Board of Governors is constitutionally charged with oversight and gov-

ernance of the State University System. Art. IX § 7, Fla. Const. Public universities

in Florida are in turn obligated to protect the welfare of all students—including Jew-

ish students—and to strike the delicate balance between promoting students’ free-

dom of expression and association and preventing interference with the educational

environment in the form of disruption, harassment, and of course illegal activities

and violence. The Chancellor’s Memorandum respects that balance.

      Against this backdrop, public officials in Florida were gravely concerned by

the National Students for Justice in Palestine’s (“SJP”) dissemination of two

“toolkits” embracing Operation Al-Aqsa Flood and encouraging disruptive—and

sometimes outright illegal—tactics on the University of Florida and University of

South Florida campuses. For the reasons discussed throughout, Chancellor Ro-

drigues’ Memorandum endorsing deactivation of Florida’s two SJP chapters—Uni-

versity of Florida SJP (“UF SJP”) and the University of South Florida SJP (“USF

SJP”)—was a reasonable reaction that does not run afoul of the First Amendment.

Plaintiff’s selective presentation of facts does not clearly establish a substantial like-

lihood of success on the merits.

      Plaintiff’s Motion should be denied for additional threshold legal failures.

Plaintiff is unlikely to succeed on the merits because Plaintiff lacks standing to sue

the Board of Governors, including the Chancellor, and its claim is not ripe. Plaintiff



                                            5
    Case 1:23-cv-00275-MW-MJF       Document 36     Filed 12/22/23    Page 6 of 35




seeks an injunction preventing deactivation but presents no evidence that it faces

imminent deactivation. And as to the Board, Plaintiff’s request leaves nothing for

this Court to enjoin: the Chancellor’s Memorandum is not enforceable, and the

Board cannot deactivate student groups. While the Board oversees and possesses

general enforcement authority with respect to universities, it has no direct authority

over the recognition, discipline, or deactivation of student groups.8 Universities

serve those functions. An injunction prohibiting the Board of Governors from deac-

tivating Plaintiff therefore enjoins the Board from doing what it cannot do.

      For the same reasons, Plaintiff cannot show a likelihood of irreparable harm—

as opposed to a nebulous fear of possible future actions. The public interest is not

served by gratuitously enjoining the Board of Governors from acts it cannot take.

Nor would the public interest be served—or any injury redressed—by an advisory

injunction that admonishes the Board to follow the law and its regulations.

      Plaintiff has not carried its burden to clearly establish a right to preliminary

relief. This Court should deny the Motion.

                                 LEGAL STANDARD

      The grant of a preliminary injunction “is the exception rather than the rule, and

plaintiff must clearly carry the burden of persuasion.” United States v. Lambert, 695



8
 The Board delegated to universities the authority to regulate matters related to stu-
dent groups in Board of Governors Regulation 1.001(4).

                                          6
     Case 1:23-cv-00275-MW-MJF         Document 36       Filed 12/22/23    Page 7 of 35




 F.2d 536, 539 (11th Cir. 1983). “[A] preliminary injunction is an extraordinary and

 drastic remedy.” Siegel v. LePore, 234 F.3d 1163, 1176 (11th Cir. 2000) (en banc). To

 prevail on a motion for preliminary injunction, a plaintiff must clearly establish that:

 “(1) it has a substantial likelihood of success on the merits; (2) irreparable injury will

 be suffered unless the injunction issues; (3) the threatened injury to the movant out-

 weighs whatever damage the proposed injunction may cause the opposing party; and

 (4) if issued, the injunction would not be adverse to the public interest.” Id. “[W]here

 the government is the party opposing the preliminary injunction, its interest and harm

 merge with the public interest.” Swain v. Junior, 958 F.3d 1081, 1091 (11th Cir. 2020).

                                    LEGAL ARGUMENT

I.   PLAINTIFF IS UNLIKELY TO SUCCEED ON THE MERITS.

       a. Plaintiff Lacks Standing Because the Chancellor’s Memorandum Is
          Unenforceable, and the Board of Governors’ General Enforcement
          Authority Does Not Reach Student Groups.

       Plaintiff is unlikely to succeed on the merits because it lacks standing to sue the

 Board of Governors. Standing is an “indispensable” part of the preliminary-injunction

 analysis and is not a mere pleading requirement. Shen v. Simpson, No. 4:23-cv-00208-

 AW-MAF, 2023 WL 5517253, at *3 (N.D. Fla. Aug. 17, 2023). “A party who fails to

 show a ‘substantial likelihood’ of standing is not entitled to a preliminary injunction.”

 Food & Water Watch, Inc. v. Vilsack, 808 F.3d 905, 913 (D.C. Cir. 2015). Thus, like

 the merits of its claim, Plaintiff must clearly establish its Article III standing to obtain



                                              7
    Case 1:23-cv-00275-MW-MJF         Document 36      Filed 12/22/23    Page 8 of 35




preliminary relief. Falls v. DeSantis, 609 F. Supp. 3d 1273, 1281–82 (N.D. Fla. 2022).

Plaintiff has not carried this weighty burden.

      Plaintiff’s heavy reliance on Healy v. James, 408 U.S. 169 (1972), illustrates its

lack of standing to sue the Board. In Healy, the plaintiff student group sued college

officials with actual authority to recognize, or not recognize, student groups, and those

officials in fact refused to recognize the plaintiff student group. Id. at 170–79. By

contrast, the Board neither recognizes nor deactivates student groups; that role is filled

by the universities. Support Working Animals, Inc. v. Gov. of Fla., 8 F.4th 1198, 1201

(11th Cir. 2021) (citations omitted). (“[W]here, as here, a plaintiff has sued to enjoin

a government official from enforcing a law, he must show, at the very least, that the

official has the authority to enforce the particular provision that he has challenged,

such that an injunction prohibiting enforcement would be effectual.”).9

      And of course, Plaintiff has not been deactivated. These two critical distinctions

illustrate that, unlike in Healy, Plaintiff in this case has not suffered a concrete injury

that is traceable to the Board and redressable by an injunction against the Board.

                 i. Injury-In-Fact

      Article III requires Plaintiff to show that it “suffered ‘an invasion of a legally

protected interest’ that is ‘concrete and particularized’ and ‘actual or imminent, not



      9
        The Memorandum was directed only to Universities, inherently recognizing
they are the body that has direct purview over the student organizations.

                                            8
    Case 1:23-cv-00275-MW-MJF        Document 36      Filed 12/22/23    Page 9 of 35




conjectural or hypothetical.’” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016) (quot-

ing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992)). A “concrete injury” must be

“real, and not abstract.” Id. (marks omitted).

      Plaintiff has not been deactivated. The Chancellor and Board did not and could

not deactivate Plaintiff. The Chancellor’s Memorandum is not formal Board action,

has no independent legal effect, and cannot be enforced against Plaintiff. Plaintiff has

not articulated an actual or imminent injury-in-fact. See Digital Props., Inc. v. City of

Plantation, 121 F.3d 586, 590 (11th Cir. 1997) (“Without the presentation of a binding

conclusive administrative decision, no tangible controversy exists and, thus, we have

no authority to act.”).

      Deactivation is the cornerstone of Plaintiff’s Complaint. But Plaintiff has not

been deactivated by the University, nor has it pleaded or proved facts suggesting that

deactivation or any other punishment—from anyone—is imminent. The Chancellor’s

statements to the Board of Governors indicate the opposite: that the University has no

imminent plan to deactivate. See https://thefloridachannel.org/videos/11-9-23-florida-

board-of-governors-meeting/ (Nov. 9, 2023 Bd. of Govs. Meeting at 2:31–2:34) (ex-

plaining that the University of Florida and University of South Florida expressed that




                                           9
   Case 1:23-cv-00275-MW-MJF        Document 36      Filed 12/22/23   Page 10 of 35




they do not intend to deactivate their SJP chapters at this time) (“Nov. 9 Board Meet-

ing Video”).10

     Critically, Plaintiff has not clearly established that the Board of Governors could

deactivate a student group. Rather, Plaintiff acknowledges the University is the entity

with authority to deactivate it. ECF No. 1 ¶¶ 22, 30, 78. Plaintiff also acknowledges

that University regulations set forth the process the University would afford to any

student group, including Plaintiff, facing potential deactivation. Id. ¶¶ 28–30.11 The

Chancellor’s Memorandum does not purport to dispense with these regulations. Plain-

tiff presents no evidence that these procedural protections would not apply, that the

University has initiated deactivation in accordance with these regulations, or that the

Board would play any role in these hypothetical processes. Instead, Plaintiff concedes

that “Defendants have not initiated any of the prescribed procedures to determine




      10
         See also Students for Justice in Palestine at the Univ. of S. Fla. v. DeSantis,
No. 1:23-cv-00281-MW-HTC (N.D. Fla.), ECF No. 1 ¶¶ 46–48 (quoting from Chan-
cellor Rodrigues’ comments at the November 9, 2023 Board of Governors meeting
noting that “the universities have not deactivated their university chapters of SJP”).
      11
          Relevant University policies are published on the University’s website:
Registered Student Organization Policy 16-003 (https://policy.ufl.edu/policy/rso-
classification-officer-eligibility/); Student Code of Conduct Policy 4-040
(https://policy.ufl.edu/wp-content/uploads/2021/12/4-040_2021-12-06.pdf);    and
Non-Discrimination and Harassment Policy 1006 (https://policy.ufl.edu/wp-con-
tent/uploads/2013/03/1006.pdf).

                                          10
   Case 1:23-cv-00275-MW-MJF          Document 36       Filed 12/22/23     Page 11 of 35




whether UF SJP should be subject to discipline.” Id. ¶ 32.12 This lack of evidence

demonstrates the prematurity and contingent nature of Plaintiff’s claim.

     The Chancellor acknowledged at a public Board meeting that their immediate

next step was to seek legal guidance to evaluate some of the positions espoused on

behalf of the Universities, and to gather additional information regarding the student

groups’ compliance with laws and policies. See Nov. 9 Board Meeting Video at

2:32:00. Neither the Chancellor nor the Board indicated an intent or plan to take any

further actions in response. See id. at 2:28:00–2:33:53. These statements weigh against

a finding that the Board could force deactivation and has plans to do so imminently.

Rather, a reasonable listener would likely infer that the Board does not intend immi-

nently to take further steps and that universities drive the deactivation decision. See

NFC Freedom, Inc. v. Diaz, No. 4:23-cv-00360-MW/MAF, 2023 WL 7283920, at *8

(N.D. Fla. Nov. 3, 2023) (“Plaintiffs’ source for this quotation also permits a reasona-

ble inference that Defendant Rufo does not intend to enforce the challenged provision

. . . .”). With no allegations or proof of actual or imminent deactivation, Plaintiff has

neither articulated nor proven a concrete injury.

      To the extent Plaintiff asserts a chilling effect as its Article III injury, that injury

is too speculative to confer standing and, as to the Board of Governors, is objectively



      12
       Of course, the University is the only Defendant that can or would initiate its
own due-process regulations for its student organizations.

                                            11
   Case 1:23-cv-00275-MW-MJF         Document 36      Filed 12/22/23    Page 12 of 35




unreasonable. While a chilling effect or self-censorship may sometimes constitute a

cognizable First Amendment injury, it is not sufficient here because the “mere fear of

unconstitutional action alone . . . is too speculative an injury to confer standing.” Club

Madonna, Inc. v. City of Miami Beach, 924 F. 3d 1370, 1381–82 (11th Cir. 2019).

“Allegations of a subjective ‘chill’ are not an adequate substitute for a claim of specific

present objective harm or a threat of specific future harm.” Laird v. Tatum, 408 U.S.

1, 13–14 (1972). “It is not enough that [a] complaint sets forth facts from which we

could imagine an injury sufficient to satisfy Article III’s standing requirements.” Elend

v. Basham, 471 F.3d 1199, 1206 (11th Cir. 2006). Instead, an injury-in-fact must be

imminent. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) (noting that the

“threatened injury must be certainly impending”, “allegations of possible future injury

are not sufficient.” (emphases in original); Dream Defs. v. Governor, 57 F.4th 879,

887 (11th Cir. 2023) (“A threat of future injury is sufficient to establish standing when

the threatened injury is certainly impending or there is a substantial risk that the harm

will occur.” (internal marks omitted)). “Immediacy, in this context, means reasonably

fixed and specific in time and not too far off.” Bloedorn v. Grube, 631 F.3d 1218, 1228

(11th Cir. 2011). Any imminency argument by Plaintiff is undercut by the numerous

steps the Board must pursue to take action regarding any university, see infra Part

I.a.ii., all of which would necessarily require publicly-noticed meetings, see §

120.525, Fla. Stat.



                                            12
   Case 1:23-cv-00275-MW-MJF          Document 36      Filed 12/22/23      Page 13 of 35




       To be objectively reasonable (and thus actionable), a chilling effect must carry

a “credible threat of prosecution” by the defendant—here, the Board. Pittman v. Cole,

267 F.3d 1269, 1283–84 (11th Cir. 2001). “[I]f no credible threat of prosecution looms,

the chill is insufficient to sustain the burden that Article III imposes.” Id.; accord Wil-

son v. State Bar of Ga., 132 F.3d 1422, 1428 (11th Cir. 1998). A plaintiff’s claim that

it “feel[s] inhibited” is insufficient; “persons having no fears of state prosecution ex-

cept those that are imaginary or speculative, are not to be accepted as appropriate

plaintiffs.” Younger v. Harris, 401 U.S. 37, 42 (1971); accord City of S. Miami v. Gov-

ernor, 65 F.4th 631, 638 (11th Cir. 2023) (“[W]e have rejected the argument that plain-

tiffs have standing based on their subjective fear of harm and its chilling effect.”

(marks omitted)).

       Plaintiff has not shown that it faces a substantially likely threat of future pun-

ishment by anyone—and certainly not by the Board. See Link v. Diaz, No. 4:21-cv-

00271-MW/MAF, 2023 WL 2984726, at *5–6 (N.D. Fla. Apr. 17, 2023) (observing

lack of evidence that Board of Governors could enforce challenged statute against

individual students or professors, as opposed to institutions, and concluding plaintiffs

lacked standing). Instead, Plaintiff rests on its “highly speculative fear” of future ac-

tion stemming from “the decisions of independent actors”—namely, the University.

City of S. Miami, 65 F.4th at 637. Absent a credible threat of prosecution by the Board,

Plaintiff’s asserted chilling effect is insufficient to confer standing.



                                            13
   Case 1:23-cv-00275-MW-MJF        Document 36      Filed 12/22/23   Page 14 of 35




                ii. Traceability & Redressability

      For similar reasons, Plaintiff cannot establish that their claimed injuries are

traceable to or redressable by an injunction against the Board of Governors. NFC

Freedom, Inc., 2023 WL 7283920, at * 4 (noting plaintiffs’ obligation to prove their

injuries are “redressable with an injunction directed at these Defendants” (emphasis

supplied)). “[I]t must be the effect of the court’s judgment on the defendant”—not an

absent third party—“that redresses the plaintiff’s injury.” Jacobson v. Florida Sec’y

of State, 974 F.3d 1236, 1254 (11th Cir. 2020) (quotation omitted).

      The Chancellor’s Memorandum has no independent legal effect and is not itself

enforceable.13 Enjoining its “enforcement” therefore does not redress any injury. En-

joining the Board from deactivating Plaintiff would ring equally hollow, because it

cannot deactivate Plaintiff in the first place. The University ultimately controls the

recognition and non-recognition of student groups.

      The author of the memorandum—Chancellor Rodrigues—has no independent

statutory enforcement authority, separate from the Board of Governors as a body. See

§§ 1001.706, 1008.322, Fla. Stat. To be sure, the Board exercises a general oversight

authority over state universities, including general authority to enforce state law. But




      13
        Plaintiff offers no evidence to the contrary, and none is found in Florida’s
Education Code.

                                          14
     Case 1:23-cv-00275-MW-MJF       Document 36     Filed 12/22/23    Page 15 of 35




that general authority does not reach individual students or student groups; that au-

thority is delegated to universities. Thus, the Board’s oversight of the State University

System does not provide the necessary nexus between the Board and Plaintiff to sat-

isfy Article III. See Falls, 609 F. Supp. 3d 1273 (rejecting teacher plaintiffs’ argument

that Board of Education might withhold funds from school districts pursuant to its

general statutory authority; teachers’ theory of standing “require[d] the Court to stack

multiple layers of inferences” and “require[d] too many inferential leaps to establish

standing at the preliminary injunction stage”).

       An injunction can issue only against state officials with authority to enforce the

challenged law. Whole Woman’s Health v. Jackson, 595 U.S. 30, 44 (2021) (“[P]eti-

tioners do not direct this Court to any enforcement authority the attorney general pos-

sesses in connection with S. B. 8 that a federal court might enjoin him from exercis-

ing.”); Jacobson, 974 F.3d at 1241 (“And any injury they might suffer is neither fairly

traceable to the Secretary nor redressable by a judgment against her because she does

not enforce the challenged law.”). Otherwise, with no enforcement authority to enjoin,

the injunction redresses no injury traceable to the defendant.14 In this circuit, general




14
   For the same reasons, a suit against the Board falls outside of the Ex Parte Young
exception to Eleventh Amendment immunity, which requires the defendant to have
an enforcement role over the challenged action to justify prospective relief. Luckey
v. Harris, 860 F.2d 1012, 1015–16 (11th Cir. 1988); Namphy v. DeSantis, 493 F.
Supp. 3d 1130, 1137 (N.D. Fla. 2020).

                                           15
   Case 1:23-cv-00275-MW-MJF         Document 36      Filed 12/22/23    Page 16 of 35




statutory enforcement authority is insufficient to confer Article III standing. Support

Working Animals, 8 F.4th at 1204; Lewis, 944 F.3d at 1298–99.

        It is not enough for Plaintiff to assert that the Chancellor’s Memorandum en-

dorses future deactivation. By analogy, in Support Working Animals, 8 F.4th at 1203–

05, the Court held that the Attorney General’s participation in the Constitutional Re-

vision Commission’s drafting of a proposed amendment to Florida’s Constitution was

insufficient to establish traceability with respect to the future enforcement of the

amendment. Relying on its earlier decision in Jacobson, the Court observed that “an

official’s role in crafting duly enacted legislation can[not] satisfy the traceability re-

quirement,” and noted that plaintiffs’ injuries instead arose from “the independent ac-

tions of . . . the Florida voters” who approved the proposed amendment. 974 F.3d at

1204.

        The same is true here. If the University ever deactivates Plaintiff, the Chancel-

lor’s role in crafting a Memorandum that anticipated that outcome is insufficient to

confer standing to sue the Board.

        In Support Working Animals, the court also found that plaintiffs’ claims were

not redressable by enjoining the Attorney General from enforcing the challenged law

because the Attorney General did not have enforcement authority. 8 F.4th at 1205.

Again, the same is true here: the Chancellor’s Memorandum is not enforceable, and

the Board does not decide which student groups at Florida’s universities will or will



                                           16
   Case 1:23-cv-00275-MW-MJF         Document 36      Filed 12/22/23    Page 17 of 35




not be recognized. An injunction prohibiting the Board from taking actions it cannot

take does not provide redress. See id. The Board’s general authority under section

1008.322 does not change this result. Id. at 1204; see also Link, 2023 WL 2984726,

at *5 (“Defendant Boards’ recent exercise of their general enforcement authority to

discipline other actors not before this Court does not move the ball. Those examples

involved disciplinary action against governing bodies . . . and not individual profes-

sors or teachers who ran afoul of state law or policy.”).

      Aside from the insufficiency of this generic authority to prove traceability and

redressability, Plaintiff offers no evidence that the Board has taken or intends to take

any of the steps set forth in section 1008.322 as a means of “enforcing” the Chancel-

lor’s Memorandum. It is pure speculation to anticipate what the Board might do in the

future or when, or how the resolution of each step in the process might turn out.

      To illustrate, even if the Board initiated steps under section 1008.322 to inves-

tigate the University’s compliance with state law related to Plaintiff’s status, Plaintiff

must assume the Board would find a violation and then take further undefined steps

to achieve compliance by the University. Plaintiff must assume these steps will not

only occur, but occur imminently. Plaintiff must also assume that the necessary out-

come of these progressive steps would be that, at some point along the way, the Uni-




                                           17
   Case 1:23-cv-00275-MW-MJF          Document 36     Filed 12/22/23   Page 18 of 35




versity would decide to deactivate Plaintiff. The ultimate (potential) act of deactiva-

tion is too attenuated from the Board of Governors, and the interim hypothetical steps

are built on too many speculative assumptions to confer standing against the Board.

         Even less plausible is the Board’s ability to directly reach individual student

groups, which are squarely under the delegated purview of their sponsoring institu-

tions. Without evidence or authority showing a nexus between Plaintiff and the Board,

“this Court cannot fill in the blanks for Plaintiffs.” NFC Freedom, Inc., 2023 WL

7283920, at *7; see also id. (discussing Falls and noting that plaintiff lacked standing

to pursue a free-speech claim when the Board’s conduct was “only tied to punishing

educational institutions”).

         In sum, an injunction prohibiting the Board from deactivating Plaintiff would

not redress any imminent harm, and an injunction prohibiting “enforcement” of the

Chancellor’s Memorandum is equally futile. Plaintiff failed to establish constitutional

standing and is therefore unlikely to succeed on the merits of its First Amendment

claim.

     b. Plaintiff’s Claim is Not Ripe.

     Speculation and assumption, divorced from a concrete and particularized injury,

are the hallmarks of an unripe claim. For the same reasons Plaintiff lacks standing,

Plaintiff’s claims are also unripe. Plaintiff’s claim depends on future contingencies

that may or may not occur. Further factual development is necessary for Plaintiff’s



                                           18
   Case 1:23-cv-00275-MW-MJF         Document 36     Filed 12/22/23    Page 19 of 35




claim to materialize—and for this Court to adjudicate it. This warrants dismissal on

ripeness grounds and precludes the extraordinary remedy of a preliminary injunction.

     “The ripeness doctrine involves consideration of both jurisdictional and pruden-

tial concerns.” Digital Props., 121 F.3d at 589. It is designed “to prevent courts,

through avoidance or premature adjudication, from entangling themselves in abstract

disagreements over administrative policies, and also to protect the agencies from ju-

dicial interference until an administrative decision has been formalized and its effects

felt in a concrete way by the challenging parties.” Abbott Labs. v. Gardner, 387 U.S.

136, 148–49 (1967). Here, Plaintiff’s claim is not “sufficiently mature,” and the issues

are not “sufficiently defined and concrete, to permit effective decisionmaking by the

court.” Pittman, 121 F.3d at 1278. (quoting Digital Props., 121 F.3d at 589).

     The Eleventh Circuit’s ripeness inquiry evaluates “(1) the fitness of the issues

for judicial decision and (2) the hardship to the parties of withholding court consider-

ation.” Club Madonna, Inc., 924 F.3d at 1380 (marks omitted). “Concerning fitness

for judicial decision, [courts] ask whether the parties raise an issue that we can decide

without further factual development and whether the institutional interests of the court

and agency favor immediate review.” Id. “[C]laims are less likely to be considered

‘fit’ for adjudication when they venture beyond purely legal issues or when they re-

quire speculation about contingent future events.” Pittman, 267 F.3d at 1278 (marks

omitted).



                                           19
   Case 1:23-cv-00275-MW-MJF          Document 36      Filed 12/22/23    Page 20 of 35




      Here, Plaintiff’s claim is not fit for adjudication for the reasons articulated in

Club Madonna and Pittman: it does not involve pure legal issues, but instead demands

speculation about contingent future events, and therefore cannot be decided without

further factual development.

      In Digital Properties, 121 F.3d at 588–90, the Eleventh Circuit found unripe a

First Amendment claim founded on informal representations by a zoning department

employee that were not memorialized in a final decision of the zoning department. In

concluding the claim was unripe, the court heavily weighed the plaintiff’s failure to

wait for a “conclusive response” from the decisionmaker. Id. at 590. The plaintiff, “in

its haste to preserve its perceived First Amendment rights, failed to present a mature

claim for review.” Id.

      This Plaintiff made the same mistake. As in Digital Properties, the remarks of a

single official do not give rise to justiciable claims, and a fear that the University might

deactivate it in the future does not impute to the Board of Governors an infringement

of Plaintiff’s rights. Plaintiff’s conviction that its rights have been violated “bred im-

patience and prompted it to file an unripe claim.” Id. The Chancellor’s Memorandum

does not bind anyone, the Board has taken no formal action, and the University has

not initiated the deactivation process or indicated any plan to do so. Accordingly, “this

action only constitutes a potential dispute” and this Court should decline to resolve it.

Id. at 591.



                                            20
   Case 1:23-cv-00275-MW-MJF         Document 36     Filed 12/22/23    Page 21 of 35




     c. The Chancellor’s Memorandum Does Not Violate the First Amendment.

      The Board of Governors’ statement that the University has a basis to take action

against Plaintiff does not violate the First Amendment.15 In addition to lacking stand-

ing and ripeness, Plaintiff is unlikely to succeed on the merits of its claim because the

issuance of the Chancellor’s Memorandum does not violate Plaintiff’s First Amend-

ment rights.

     The Chancellor’s Memorandum has no legal effect on Plaintiff. Plaintiff’s claim

therefore lacks any state action to which a First Amendment analysis can apply. The

Chancellor’s demand for action and exhortation to vigilance by Florida’s state univer-

sities does violate the First Amendment. The First Amendment does not prevent the

Chancellor or Board from holding and expressing their own viewpoints. Pleasant

Grove City v. Summum, 555 U.S. 460, 467–68 (2009) (“A government entity has the

right to speak for itself [and] is entitled to say what it wishes.” (citations and marks

omitted)).




      15
         As explained in the Board’s Motion to Dismiss, Plaintiff’s Complaint in-
vokes several strands of First Amendment claims under a single cause of action. For
purposes of the preliminary injunction analysis, Plaintiff has failed to establish a
likelihood of success on the merits under any theory. Cf. Christian Legal Soc’y Ch.
of the Univ. of Cal. Hastings Coll. of Law v. Martinez, 561 U.S. 661, 680 (2010)
(reasoning that based on the underlying facts and claims, it made “little sense to treat
CLS’s speech and association claims as discrete” and relying on “limited-public-
forum precedents [to] supply the appropriate framework for assessing both” types of
claims).

                                           21
     Case 1:23-cv-00275-MW-MJF       Document 36     Filed 12/22/23    Page 22 of 35




       The Chancellor’s Memorandum is akin to an open letter, much like the dozens

of statements released by public officials across the country on the same topic over

the last ten weeks. The Chancellor’s Memorandum is no more actionable than these

innumerable statements by other public officials.16 See Rust v. Sullivan, 500 U.S. 173,

193 (1991) (finding the government’s expression of preferences does not violate the

First Amendment, and recognizing the “basic difference between direct state interfer-

ence with a protected activity and state encouragement of an alternative activity”).

       Even if the mere issuance of the Chancellor’s Memorandum implicated the First

Amendment, the Memorandum here does not violate Plaintiff’s constitutional rights.

At most, a university-sponsored student organization system is a limited public forum,

see Christian Legal Society, 561 U.S. at 679 n.12, subject to reasonable, viewpoint-

neutral restrictions related to the university’s educational mission and the goals of the

forum, id. at 685, 687 n.16; Rosenberger v. Rector & Visitors of Univ. of Va., 515 U.S.

819, 829–30 (1995). In this context, content-based restrictions are permissible “if

[they] preserve[] the purpose of the limited forum.” Gay Lesbian Bisexual All. v.




16
  This Court need not ignore its independent knowledge of widely-reported public
statements. See United States v. Marino, 562 F.2d 941, 944 (5th Cir. 1977) (factfinders
“are not to be presumed ignorant of what everybody else knows” and “are allowed to
act upon matters within their general knowledge, without any testimony on those mat-
ters”); Namphy, 493 F. Supp. 3d at 1144 (“This Court, like any factfinder . . . does
not check its common sense at the door.”).

                                           22
   Case 1:23-cv-00275-MW-MJF         Document 36      Filed 12/22/23    Page 23 of 35




Pryor, 110 F.3d 1543, 1549 (11th Cir. 1997). The Chancellor’s Memorandum satisfies

these principles.

      Universities have a “significant interest in ensuring safety and order on cam-

pus.” Bloedorn v. Grube, 631 F.3d 1218, 1238 (11th Cir. 2011). “[P]rotecting the

safety and convenience of persons using a public forum is a valid governmental ob-

jective.” Id. (citation and marks omitted); see also Yeasin v. Durham, 719 F. App’x

844, 851–52 (10th Cir. 2018) (“[T]the Supreme Court believes that the material-and-

substantial-disruption test applies in the university setting”).

      Universities need not tolerate threats of material disruption in opening a limited

forum, or force students to tolerate threats to their education or physical safety. Healy,

408 U.S. at 189 (“Associational activities need not be tolerated where they infringe

on reasonable campus rules, interrupt classes, or substantially interfere with the op-

portunity of other students to obtain an education.”); Jane Doe I v. Valencia Coll. Bd.

of Trs., 838 F.3d 1207, 1212 (11th Cir. 2016) (“[T]he employees must tolerate the

students’ complaints about the transvaginal ultrasounds unless they can reasonably

forecast that the expression will lead to substantial disruption of or material interfer-

ence with school activities.” (marks omitted)); Ala. Student Party v. Student Gov’t

Ass’n of the Univ. of Ala., 867 F.2d 1344, 1347 (11th Cir. 1989) (recognizing legiti-

mate interest in “minimiz[ing] the disruptive effect of campus electioneering); Jenkins

v. La. State Bd. of Educ., 506 F.2d 992, 1003 (5th Cir. 1975) (“[T]hese organizers



                                           23
   Case 1:23-cv-00275-MW-MJF        Document 36      Filed 12/22/23   Page 24 of 35




initially provoked the group action which led to the disorder and the disturbances . . .

. The actions of appellants resulted in a material disruption of the campus and of the

rights of others. They were not protected by the First Amendment.”).17

      The Board has a vested interest in ensuring that all of Florida’s public univer-

sities comply with the law, protect student welfare, and pursue their primary purpose

of educating students. Cf. Ala. Student Party, 867 F.2d at 1346 (“But this is a univer-

sity, whose primary purpose is education, not electioneering. Constitutional protec-

tions must be analyzed with due regard to that educational purpose, an approach that

has been consistently adopted by the courts.”). When faced with a “reasonable fear”

that student groups will jeopardize those ends, the Board is entitled to express those

concerns and exhort the universities to be vigilant in fulfilling their obligations. See

id. at 1346–47 (explaining Tinker and noting that school authorities in Tinker did not

“reasonably fear[] school disruption,” and concluding that student-organization rules

before the court “ought to be assessed on the basis of their reasonableness as well”).

      17
          The Eleventh Circuit noted the somewhat unsettled nature of the jurispru-
dence in this area in Sasser v. Board of Regents of University System of Georgia,
No. 21-14433, 2023 WL 2446720, at *5 (11th Cir. Mar. 10, 2023), finding that a
university student suspended for using a racial slur at a university-sponsored event
could not defeat qualified immunity against individual defendants because his First
Amendment rights were not clearly established. Sasser shows that Healy’s applica-
tion is limited and that Tinker v. Des Moines Independent Community School District,
393 U.S. 503 (1969), remains relevant authority, at least in part in the university
setting, even if not explicitly extended in full. Sasser also does not disturb existing
circuit precedent recognizing the legitimacy of the State’s interest in ensuring order
and safety on campus, as well as the preservation of the primary educational mission.

                                          24
   Case 1:23-cv-00275-MW-MJF        Document 36      Filed 12/22/23   Page 25 of 35




      The Chancellor’s fears were reasonable. His Memorandum issued against the

following backdrop:

    Hamas executed the Operation Al-Aqsa Flood terror attacks on October 7,
     2023. Supporters rebranded these attacks as “the Resistance,” which has been
     championed by national and local SJP chapters alike. In the wake of the October
     7 terrorist attacks, SJP—including these local chapters—embraced the “re-
     sistance” and atrocities in Israel, not just standing in “solidarity” with the acts
     of Hamas, but as “PART of this movement.” E.g., Exs. 20, 23, 29, 30; Students
     for Justice in Palestine at the Univ. of S. Fla. v. DeSantis, No. 1:23-cv-00281-
     MW-HTC (N.D. Fla.), ECF No. 1 at 26.

    By October 9, 2023, Chancellor Rodrigues and Florida’s Commissioner of Ed-
     ucation issued a memorandum to university and college presidents condemning
     the barbaric attacks in Israel and reminding the institutions of their obligations
     to protect Jewish students. Ex. 27. The same day, state law-enforcement entities
     issued a memorandum to all Florida law-enforcement agencies encouraging
     vigilance in their protection of citizens by refamiliarizing themselves with Flor-
     ida’s statutory protections from discriminatory harassment based on religion,
     including on college and university campuses. Ex. 26. These actions are con-
     sistent with the Chancellor’s Memorandum and invoke the same concern: pro-
     tecting the Jewish community and avoiding disruption.

    Since October 7, national and local SJP chapters have promoted and partici-
     pated in disruptive walk-outs on campuses in Florida and nationwide. UF SJP
     was among the chapters that promoted and participated in the national walk-
     out, Exs. 5, 6, 10, 16, 21, and walk-outs also occurred on the campuses of Flor-
     ida International University and Florida State University, Ex. 9.

    Also in the aftermath of October 7—which national SJP characterizes as a “his-
     toric win,” Ex. 29 at 1—Plaintiff received two “toolkits” from national SJP in-
     structing and encouraging the implementation of disconcerting tactics on Flor-
     ida’s campuses, including organizing illegal or disruptive demonstrations such
     as blockades, sit-ins and occupations, walk-outs, coordinated convergence on
     university spaces such as cafeterias and student centers, and targeted harass-
     ment (such as “bird-dogging” and “call-ins”), see Ex. 29 at 2; Ex. 30 at 9–12,
     and the coordination of and participation in protests that contemplate police
     confrontation and arrests, see Ex. 30 at 6-7.



                                          25
   Case 1:23-cv-00275-MW-MJF        Document 36      Filed 12/22/23   Page 26 of 35




    The SJP toolkits amplified the goals of Hamas, celebrating the brutal October
     7 attacks and instructing local chapters to use imagery glorifying the terror at-
     tacks, like graphics of paragliders, in publicizing SJP events. Ex. 29; Ex. 30.
     The toolkits advocate armed resistance as both “legitimate” and “necessary,”
     Ex. 29 at 4; see also Ex. 20, call for intifada, Ex. 29 at 4, and denounce Israel’s
     right to exist while characterizing all Israelis as non-civilians and therefore
     justifying their slaughter, Ex. 29 at 3–4.

    In addition to embracing the “Resistance,” UF SJP’s social-media accounts re-
     veal a disruptive and perhaps illegal “shut down” of Congresswoman Kat
     Cammack’s office for being a “supporter of Israel,” Ex. 4, and efforts to organ-
     ize and encourage student walk-outs in concert with national SJP, Exs. 5, 6, 10,
     12, 16, 17, 19, 21, 37. UF SJP also links to national SJP’s website on its own
     Instagram page, Ex. 8.

    The day after the terrorist attacks, USF SJP also took to social media, justifying
     the unspeakable atrocities a “response” to “Israeli zionists,” denying that those
     atrocities were “terrorism,” and proclaiming their stance in “solidarity” with
     the events of October 7. Exs. 23, 1. USF SJP’s stance on “solidarity” with the
     atrocities perpetrated by Hamas is reiterated in an Official Statement issued by
     the chapter. See Students for Justice in Palestine at the Univ. of S. Fla., No.
     1:23-cv-00281-MW-HTC, ECF No. 1 at 26.

    In the weeks following the terrorist attack, disruption occurred during demon-
     strations at both the University of Florida and Florida Atlantic University, in-
     cluding injuries and hospitalizations resulting from the UF event and an arrest
     during a pro-Palestinian rally at FAU. Exs. 7, 31.18




      18
             Also   available      at    https://www.gainesville.com/story/news/lo-
cal/2023/10/10/uf-vigil-for-israel-victims-leads-to-dozens-injured-hospital-
ized/71129088007/;        and        https://www.palmbeachpost.com/story/news/lo-
cal/boca/2023/10/13/israel-hamas-conflict-pro-palestine-march-results-in-3-ar-
rests-at-fau/71168041007/

                                          26
   Case 1:23-cv-00275-MW-MJF         Document 36     Filed 12/22/23    Page 27 of 35




      As the dissemination of the national SJP’s two toolkits demonstrate, the na-

tional SJP deploys resources, support, and guidance to its local chapters. The Chan-

cellor’s Memorandum reasonably observed this relationship. Examples of the nexus

between the national SJP and the UF and USF SJP chapters include:

       UF SJP and USF SJP identify themselves as a local “chapter of Students for
        Justice in Palestine,” Exs. 1, 2, 3, and national SJP’s has claimed UF SJP
        and USF SJP as two of its local chapters, Exs. 13, 15.

       National SJP provides resources to UF and SJP, including the “toolkits.” See
        ECF No. 1 ¶ 57; ECF No. 1-4 ¶ 29; Students for Justice in Palestine at the
        Univ. of S. Fla., Case No. 1:23-cv-281 (N.D. Fla. Nov. 20, 2023), ECF No.
        1 ¶ 42.19

       UF SJP promoted walk-outs organized by national SJP, and multiple Florida
        universities participated. Exs. 5, 6, 10, 12, 16, 17, 19, 21; see also Ex. 9.

       UF SJP has historically promoted and co-signed statements alongside na-
        tional SJP, Exs. 11, 14, 18.

       Plaintiff’s own social-media account links to the national SJP webpage, Ex.
        8.

       Plaintiff acknowledged the relationship between its chapter and national
        SJP, see ECF No. 1 ¶¶ 33, 44–49; Ex. 38 at 1 (“SJP is affiliated with National
        Students for Justice in Palestine (NSJP) operating in the United States”).




      19
        National SJP provides other resources beyond the “toolkits” to local chapters.
For example, it advertises that it will reimburse costs associated with a local chapter’s
attendance at the national SJP conference, Ex. 24, and operates a dedicated “Chapter
Support” page, see https://nationalsjp.org/support.

                                           27
   Case 1:23-cv-00275-MW-MJF        Document 36   Filed 12/22/23   Page 28 of 35




      Any reasonable observer can identify the obvious nexus between the national

SJP and these local chapters—even if that nexus is not formalized or monetized.20

      After the Memorandum’s issuance, the Board received complaint statements

against USF SJP from students at USF, see Exs. 25, 41,21 and received dozens of

emails expressing concerns about USF SJP specifically, see Ex. 28. USF SJP is one of

the two chapters identified in the Chancellor’s Memorandum, and the substance of the

complaints and emails is consistent with many of the concerns underlying the Chan-

cellor’s Memorandum. Recently, Rutgers University, a public university in New Jer-

sey, suspended its SJP chapter due to disruptions on campus—the same concern

prompting the Chancellor’s Memorandum. Ex. 22.22 Private universities—including

Columbia, George Washington, and Brandeis Universities—have suspended their SJP

chapters as well. See Exs. 34, 35, 36.



      20
         Among those observers is the New York Times, which acknowledged the
intentional absence of bureaucratic relationships between national SJP and its chap-
ters, and nevertheless characterized SJP as a nationwide organization comprised of
a network of affiliated chapters with common objectives. See Ex. 33, also available
at https://www.nytimes.com/2023/11/17/us/students-justice-palestine-campus-pro-
tests.html.
      21
         See also Ex. 42, Tweet by @ElbazStarinsky (Nov. 16, 2023), also availa-
ble at https://twitter.com/elbazstarinsky/sta-
tus/1725297372048027774?s=46&t=ogN6JC9SMWqphCsEESArUg.
      22
         See also Adam Sabes, Rutgers Univ. Suspends Students for Justice in Pal-
estine    Chapter,   FOX     NEWS     (Dec.     12,   2023),     available     at
https://www.foxnews.com/us/rutgers-university-suspends-students-justice-pales-
tine.

                                         28
   Case 1:23-cv-00275-MW-MJF        Document 36      Filed 12/22/23   Page 29 of 35




      This context underpinned the Memorandum, which is consistent with the Board

of Governors’ goals of safeguarding public universities’ primary educational mission

and students’ ability to obtain their education on campus. The Eleventh Circuit has

thus made clear that deference is owed to the “educational mission of institutes of

higher learning” and universities’ corresponding “right to exclude even First Amend-

ment activities that violate reasonable campus rules or substantially interfere with the

opportunity of other students to obtain an education.” Ala. Student Party, 867 F.2d at

1345; accord id. at 1347 (“[T]hese principles translate into a degree of deference to

school officials who seek to reasonably regulate speech and campus activities in fur-

therance of the school’s educational mission.”). The Chancellor’s Memorandum is

reasonable considering the forum’s educational purpose and implicates only unpro-

tected conduct or expressive activities that are properly constrained in the university

context.

      With respect to student organizations, the “proper analysis centers on the level

of control a university may exert over the school-related activities of its students,”

especially when the university “need not have [a student-organization system] at all.”

Id. at 1345–46. The First Amendment does not require universities or the Board to

sacrifice universities’ educational mission or the safety of the university community.

Healy, 408 U.S. at 189; Ala. Student Party, 867 F.2d at 1345–47. Nor must they re-




                                          29
   Case 1:23-cv-00275-MW-MJF         Document 36      Filed 12/22/23   Page 30 of 35




main muzzled until actual disruption—or violence—breaks out. See Keeton v. Ander-

son-Wiley, 664 F.3d 865, 877 (11th Cir. 2011) (the government need not “allow events

to unfold to the extent that the disruption to the program is manifest before taking

action” (marks omitted)).

      In expressing its concern over national SJP and its nexus to Florida chapters,

the Chancellor’s Memorandum invoked Florida’s material-support statute, § 775.33,

Fla. Stat., university codes of conduct, and the well-established legitimate interests in

student safety and pursuit of education, ECF No. 1-1 at 2–3—none of which is an

unconstitutional viewpoint-based restriction. Plaintiff’s objections to the application

of those laws and policies may be viewpoint-based, but this does not convert laws and

policies that apply to everyone into First Amendment violations. Keeton, 664 F.3d at

875 (“Keeton confuses her viewpoint-based objections to ASU’s officials’ actions

with viewpoint discrimination.”). The Chancellor’s Memorandum does not purport to

prohibit, for example, speech or viewpoints critical of Israel or supportive of Palestin-

ian freedom, nor does it support an inference that university regulations or Florida

statutes do not apply equally to all similarly situated groups.23



      23
        The Chancellor’s recent comments in the press are consistent with the Mem-
orandum by focusing not on protected First Amendment expression, but on harass-
ment, threats, violence, and illegal disruption on campuses. Gabriella Pinos, Ray
Rodrigues discusses free speech on Florida University campuses, WUSF.ORG (Dec.
16, 2023), available at https://www.wusf.org/education/2023-12-15/ray-rodrigues-
discusses-florida-university-free-speech-campuses.

                                           30
   Case 1:23-cv-00275-MW-MJF         Document 36      Filed 12/22/23    Page 31 of 35




      Faced with extraordinary tensions and fear on campuses and troubling indicia

of disruption from SJP, the Chancellor took a reasonable, proactive step based on pol-

icies and laws of general applicability: he exhorted universities to follow their existing

legal obligations to ensure SJP chapters do not engage in the unlawful tactics that the

national SJP encouraged them to deploy, or in other conduct that would violate uni-

versity policies or state law. See ECF No. 1-1 at 3 (referencing “demonstrations that

delve beyond protected First Amendment speech”). This call to “reasonably regulate

speech and campus activities in furtherance of the school’s educational mission” does

not violate the First Amendment. Ala. Student Party, 867 F.2d at 1347.

      Finally, Healy, 408 U.S. 169, is distinguishable. First, the defendant college in

Healy refused to officially recognize the plaintiff student group. Plaintiff remains ac-

tive, and no evidence suggests that the status quo will imminently change.

      Second, the student group in Healy sued the only entity authorized to approve

or disapprove of the student group: the college. The Board of Governors has no such

authority.

      Third, the non-recognition decision in Healy is substantively distinguishable.

In Healy, the college president overruled a committee decision that would have rec-

ognized the student group, but the available record did not support the justifications

for the President’s decision. Id. at 173–79. The Court confirmed that a threat of mate-




                                           31
   Case 1:23-cv-00275-MW-MJF         Document 36     Filed 12/22/23   Page 32 of 35




rial disruption could have constituted a sufficient basis for non-recognition of a stu-

dent group, as would the student group’s refusal to abide by valid campus regulations.

Id. at 188–189. Unlike in Healy, the Chancellor’s Memorandum was not the product

of “undifferentiated fear or apprehension,” id. at 191, or a naked imputation of “guilt

by association alone,” id. at 186, but rather of concrete, real-world events, as well as

documents sent to Plaintiff encouraging disruption on Florida campuses and openly

claiming solidarity with Operation Al-Aqsa Flood.

      Jewish students are understandably terrified. Campus communities are on edge,

while the national SJP encourages the mobilization of “resistance” and disruption—

and justifies armed struggle—across Florida’s campuses. Neither the Board of Gov-

ernors nor Florida’s universities must sit silent.

II.   PLAINTIFF FAILED TO DEMONSTRATE A LIKELIHOOD OF IRREPARABLE HARM
      ABSENT AN INJUNCTION.

      There is no indication that Plaintiff will face irreparable harm absent an injunc-

tion against the Board. Plaintiff must clearly establish imminent harm that only the

issuance of an injunction can avoid. Ne. Fla. Chapter of Ass’n of Gen. Contractors of

Am. v. City of Jacksonville, 896 F.2d 1283, 1285 (11th Cir. 1990). A mere possibility

of future harm is not enough.

      Plaintiff has articulated a conceivable future harm: deactivation by the Univer-

sity. However, Plaintiff has not clearly established—or even articulated—that this




                                           32
   Case 1:23-cv-00275-MW-MJF         Document 36       Filed 12/22/23    Page 33 of 35




harm is imminent absent an injunction. Plaintiff has not pleaded or proven, for exam-

ple, that the University has expressed any intention to deactivate it, that the Univer-

sity’s due-process regulations would not apply if the University initiates steps towards

deactivation, or how the Board would play any role in the deactivation decision or

process.

      A preliminary injunction is warranted only when necessary to avoid imminent,

irreparable harm that will occur “in the absence of its issuance.” Doran v. Salem Inn,

Inc., 422 U.S. 922, 931 (1975); see also Georgia v. President of the United States, 46

F.4th 1283, 1303 (11th Cir. 2022) (an injunction should be “no more burdensome to

the defendant than necessary to provide complete relief to the plaintiffs”). An injunc-

tion prohibiting the Board from deactivating Plaintiff is not necessary to provide re-

lief—and certainly not complete relief—because, as explained, the Board cannot de-

activate student groups. Likewise, an injunction prohibiting Board from “enforcing”

the Chancellor’s Memorandum is unnecessary because the Memorandum is not en-

forceable. And an injunction that prohibits the Board from exercising its general over-

sight authority with respect to the University in a manner that violates Plaintiff’s relies

on speculation and amounts to an obey-the-law injunction that is equally unnecessary

to avoid irreparable harm.




                                            33
   Case 1:23-cv-00275-MW-MJF        Document 36     Filed 12/22/23   Page 34 of 35




III.   THE PUBLIC INTEREST WEIGHS AGAINST THE REQUESTED INJUNCTION.

       The final factor also weighs against the requested relief. When the party op-

posing the injunction is the government, the party’s and public’s interests merge.

Swain, 958 F.3d at 1091.

       Here, the public interest weighs against the requested injunction because no

interest is served by forbidding a state entity to do something it cannot do, or to

speculatively preclude the Board from properly exercising its legal authority in the

future. Similarly, as noted, an injunction directing the Board to refrain from exercis-

ing its authority in the future in a manner that violates the First Amendment is a

speculative and impermissible obey-the-law injunction that redresses no injury and

serves no interest. See Fla. Ass’n of Rehab. Facilities, Inc. v. State of Fla. Dep’t of

Health & Rehab. Servs., 225 F.3d 1208, 1222 (11th Cir. 2000); Rhiner v. Jones, No.

2:15-cv-14319-RLR, 2018 WL 9391726, at *2 (S.D. Fla. Mar. 14, 2018) (denying

preliminary injunction in First Amendment retaliation case that was “nothing more

than a prophylactic one of assuring that no unconstitutional conduct will occur in the

future” (citation and marks omitted)). The final two factors in the preliminary-in-

junction analysis weigh against enjoining the Board of Governors.

                                    CONCLUSION

       The Chancellor and Board of Governors respectfully request that this Court

deny Plaintiff’s Motion.



                                          34
   Case 1:23-cv-00275-MW-MJF        Document 36     Filed 12/22/23   Page 35 of 35




                          CERTIFICATE OF COMPLIANCE

       The undersigned certifies that the foregoing response contains 7,997 words

and therefore complies with the word limitation requirements in Local Rule 7.1(F).

       Dated December 22, 2023.

                                            /s/ Ashley H. Lukis
                                            Ashley H. Lukis (FBN 106391)
                                            James T. Moore, Jr. (FBN 70023)
                                            Andy Bardos (FBN 822671)
                                            GRAYROBINSON, P.A.
                                            P.O. Box 11189
                                            Tallahassee, Florida 32302-3189
                                            Telephone: 850-577-9090
                                            ashley.lukis@gray-robinson.com
                                            tim.moore@gray-robinson.com
                                            andy.bardos@gray-robinson.com
                                            Attorneys for Defendants, Florida
                                            Board of Governors of the State
                                            University System and Chancellor
                                            Rodrigues



                          CERTIFICATE OF SERVICE

       I certify that, on December 22, 2023, this notice was filed through the Court’s

CM/ECF system, which will send a notice of electronic filing to all counsel of rec-

ord.


                                            /s/ Ashley H. Lukis
                                            Ashley Lukis (FBN 106391)
                                            GRAYROBINSON, P.A.



                                         35
